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 Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
Leonard M. Shulman – Bar No. 126349
Max Casal – Bar No. 342716
SHULMAN BASTIAN FRIEDMAN & BUI LLP
100 Spectrum Center Drive, Suite 600, Irvine, California
92618
Telephone: (949) 340-3400; Facsimile: (949) 340-3000
Email: LShulman@shulmanbastian.com;
MCasal@shulmanbastian.




     Individual appearing without attorney
     Attorney for: Debtors

                                       UNITED STATES BANKRUPTCY COURT
                          CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION DIVISION

 In re:                                                                      CASE NO.: 2:24-bk-16757-VZ (Lead Case)
Manning Land Company, LLC - Case No. 2:24-bk-16757                           CHAPTER: 11

Manning's Beef LLC - Case No. 2:24-bk-bk-16758                                    NOTICE OF BAR DATE FOR FILING
                                                                               PROOFS OF CLAIM IN A CHAPTER 11 CASE
ADD Enterprises, Inc. - Case No. 2:24-bk-16759                                             [LBR 3003-1]

Charlie DiMaria & Son Inc. - Case No. 2:24-bk-16760                               No hearing: LBR 9013-1(q)
                                                                                  Hearing information
RNCK, Inc. - Case No. 2:24-bk-16761
                                                                             DATE:
Salvatore Anthony DiMaria, aka Salvatore A. DiMaria,                         TIME:
Salvatore DiMaria, dba DiMaria Cattle - Case No.                             COURTROOM:
2:24-bk-16762                                                                ADDRESS:

                                                               Debtor(s).

1. Bar Date. The court has set a deadline of (date) December 20              , 20 24 (Bar Date), for creditors in the
   above-referenced case to file proofs of claim against the Debtor’s estate. ON OR BEFORE THE BAR DATE,
   PROOFS OF CLAIM MUST BE FILED WITH THE COURT CLERK AT:
          255 East Temple Street, Los Angeles, CA 90012                                411 West Fourth Street, Santa Ana, CA 92701
          21041 Burbank Boulevard, Woodland Hills, CA 91367                            1415 State Street, Santa Barbara, CA 93101
          3420 Twelfth Street, Riverside, CA 92501

2. Form. You may obtain a Proof of Claim form (Official Form 410) on the Bankruptcy Court’s web site at
   http://www.cacb.uscourts.gov, or visit the Intake area at any division of the Court.

3. Exceptions to the Bar Date. Exceptions to the Bar Date include, but are not limited to, the following:

           (a) Executory contracts/unexpired leases. For claims arising from rejection of any executory contract or
               unexpired lease, the last day to file a Proof of Claim is the later of (a) the Bar Date or (b) 30 days after the
               date of entry of an order authorizing the rejection of such contract or lease or after any automatic rejection of
               such contract or lease. See 11 U.S.C. §§ 365(d)(4) and 502(g).

            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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        (b) Governmental units. For claims of governmental units, the last day to file a Proof of Claim is the later of
            (a) the Bar Date or (b) before 180 days after the date of the Order for Relief in this case (the person signing
            this form has determined that the Order for Relief was entered on (date) _______________,
                                                                                        08/22/2024           and therefore
            calculates that this deadline is (date) _______________).
                                                     02/18/2025          See 11 U.S.C. §§ 101(27) and 502(b)(9).

        (c) Avoidance. For claims arising from the avoidance of a transfer under chapter 5 of the Bankruptcy Code (11
            U.S.C. § 544 and following), the last day to file a Proof of Claim is the later of (a) the Bar Date or (b) 30 days
            after the entry of judgment avoiding the transfer. See 11 U.S.C. § 502(h).

        (d) Agreed claims. If your claim is listed on the Debtor’s official bankruptcy schedules of assets and liabilities
            (Schedules) and it is not listed as disputed, contingent, unliquidated or unknown, then your claim is deemed
            filed in the amount set forth in those Schedules. 11 U.S.C. § 1111(a). But, if your claim is not listed on the
            Schedules, or is listed as disputed, contingent, unliquidated or unknown, or if you disagree with the amount or
            description of your claim (e.g., its description as unsecured or non-priority), then you must timely filed a Proof
            of Claim as set forth in this Notice.

4. 11 U.S.C. § 503(b)(9) Claims. Claims arising from unpaid goods received by the Debtor in the ordinary course of
   business within 20 days prepetition are subject to an administrative expense priority pursuant to 11 U.S.C. §§ 507(a)(2)
   and 503(b)(9). Any creditor who wishes to assert such a claim must file a Proof of Claim by the Bar Date, modified as
   follows: Section 12 of Proof of Claim. Identify: (i) the goods for which the Debtor has not paid; (ii) the method(s) of
   shipment; (iii) the actual date(s) when those goods were received by the Debtor (or state that an estimated date has
   been used); (iv) the place of delivery – e.g., “computers shipped via U.S. mail, received by the Debtor at the Debtor’s
   warehouse on [insert estimated date]” (use a continuation sheet if necessary); and (v) the box for “Other” priority and
   specify that priority is under 11 U.S.C. §§ 507(a)(2) and 503(b)(9).

5. Interest Holders. If the Debtor or the chapter 11 trustee believes it necessary to set a bar date for interest holders
   (e.g., holders of common or preferred stock), then, before this Notice is served, the chambers of the presiding judge in
   this case must be contacted for further instructions.

FAILURE OF A CREDITOR TO FILE A PROOF OF CLAIM ON OR BEFORE THE DEADLINE MAY RESULT IN
DISALLOWANCE OF THE CLAIM OR SUBORDINATION UNDER THE TERMS OF A PLAN OF REORGANIZATION
WITHOUT FURTHER NOTICE OR HEARING. 11 U.S.C. § 502(b)(9). CREDITORS MAY WISH TO CONSULT AN
ATTORNEY TO PROTECT THEIR RIGHTS.


      10/16/2024
Date: _______________                                      By: /s/ Max Casal
                                                               Signature of Debtor, chapter 11 trustee, or their attorney


                                                           Name: Max Casal
                                                                 Printed name of Debtor, chapter 11 trustee, or their attorney




PROOFS OF CLAIM ARE TO BE FILED ON CLAIMS REGISTERS OF THE CASE OF THE DEBTOR
AGAINST WHICH THE CLAIM IS MADE. THE ONLY PROOFS OF CLAIM TO BE FILED IN THE
LEAD CASE ARE CLAIMS AGAINST THE DEBTOR OF THE LEAD CASE.




         This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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  Fill in this information to identify the case:

  Debtor 1              __________________________________________________________________

  Debtor 2               ________________________________________________________________
  (Spouse, if filing)

                                              Central District of California
  United States Bankruptcy Court for the: __________ District of __________

  Case number            ___________________________________________




 Official Form 410
 Proof of Claim                                                                                                                                                     04/22

 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
 make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:        Identify the Claim

1. Who is the current
   creditor?                          ___________________________________________________________________________________________________________
                                      Name of the current creditor (the person or entity to be paid for this claim)

                                      Other names the creditor used with the debtor      ________________________________________________________________________

2. Has this claim been
   acquired from
                                       No
   someone else?                       Yes. From whom? ______________________________________________________________________________________________________

3. Where should notices               Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                                                                                            different)
   creditor be sent?
                                      _____________________________________________________                       _____________________________________________________
   Federal Rule of                    Name                                                                        Name
   Bankruptcy Procedure
   (FRBP) 2002(g)                     ______________________________________________________                      ______________________________________________________
                                      Number      Street                                                          Number      Street

                                      ______________________________________________________                      ______________________________________________________
                                      City                       State             ZIP Code                       City                       State             ZIP Code

                                      Contact phone    ________________________                                   Contact phone   ________________________

                                      Contact email     ________________________                                  Contact email   ________________________



                                      Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                      __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __


4. Does this claim amend               No
   one already filed?
                                       Yes. Claim number on court claims registry (if known) ________                                  Filed on   ________________________
                                                                                                                                                   MM / DD       / YYYY



5. Do you know if anyone               No
   else has filed a proof              Yes. Who made the earlier filing?             _____________________________
   of claim for this claim?




  Official Form 410                                                             Proof of Claim                                                             page 1
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 Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number         No
   you use to identify the        Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor: ____ ____ ____ ____
   debtor?



7. How much is the claim?          $_____________________________. Does this amount include interest or other charges?
                                                                             No
                                                                             Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                      charges required by Bankruptcy Rule 3001(c)(2)(A).


8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.


                                 ______________________________________________________________________________



9. Is all or part of the claim    No
   secured?                       Yes. The claim is secured by a lien on property.
                                           Nature of property:
                                            Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                             Attachment (Official Form 410-A) with this Proof of Claim.
                                            Motor vehicle
                                            Other. Describe:             _____________________________________________________________



                                           Basis for perfection:          _____________________________________________________________
                                           Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                           example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                           been filed or recorded.)



                                           Value of property:                            $__________________
                                           Amount of the claim that is secured:          $__________________

                                           Amount of the claim that is unsecured: $__________________ (The sum of the secured and unsecured
                                                                                                      amounts should match the amount in line 7.)



                                           Amount necessary to cure any default as of the date of the petition:               $____________________



                                           Annual Interest Rate (when case was filed) _______%
                                            Fixed
                                            Variable


10. Is this claim based on a      No
    lease?
                                  Yes. Amount necessary to cure any default as of the date of the petition.                  $____________________


11. Is this claim subject to a    No
    right of setoff?
                                  Yes. Identify the property: ___________________________________________________________________




 Official Form 410                                                   Proof of Claim                                                         page 2
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12. Is all or part of the claim     No
    entitled to priority under
    11 U.S.C. § 507(a)?             Yes. Check one:                                                                                               Amount entitled to priority

   A claim may be partly                   Domestic support obligations (including alimony and child support) under
   priority and partly                        11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                              $____________________
   nonpriority. For example,
   in some categories, the                 Up to $3,350* of deposits toward purchase, lease, or rental of property or services for
   law limits the amount                      personal, family, or household use. 11 U.S.C. § 507(a)(7).                                          $____________________
   entitled to priority.
                                           Wages, salaries, or commissions (up to $15,150*) earned within 180 days before the
                                              bankruptcy petition is filed or the debtor’s business ends, whichever is earlier.                   $____________________
                                              11 U.S.C. § 507(a)(4).
                                           Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                                 $____________________

                                           Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                     $____________________

                                           Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                                     $____________________

                                          * Amounts are subject to adjustment on 4/01/25 and every 3 years after that for cases begun on or after the date of adjustment.



 Part 3:    Sign Below

 The person completing            Check the appropriate box:
 this proof of claim must
 sign and date it.                       I am the creditor.
 FRBP 9011(b).                           I am the creditor’s attorney or authorized agent.
 If you file this claim                  I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 electronically, FRBP
 5005(a)(2) authorizes courts
                                         I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 to establish local rules
 specifying what a signature
 is.                              I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
                                  amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a
 fraudulent claim could be        I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fined up to $500,000,            and correct.
 imprisoned for up to 5
 years, or both.
                                  I declare under penalty of perjury that the foregoing is true and correct.
 18 U.S.C. §§ 152, 157, and
 3571.
                                  Executed on date         _________________
                                                           MM / DD     /   YYYY




                                  8________________________________________________________________________
                                          Signature

                                  Print the name of the person who is completing and signing this claim:


                                  Name                   _______________________________________________________________________________________________
                                                         First name                   Middle name                   Last name

                                  Title                  _______________________________________________________________________________________________

                                  Company                _______________________________________________________________________________________________
                                                         Identify the corporate servicer as the company if the authorized agent is a servicer.



                                  Address                _______________________________________________________________________________________________
                                                         Number        Street

                                                         _______________________________________________________________________________________________
                                                         City                                           State       ZIP Code

                                  Contact phone          _____________________________                              Email         ____________________________________




           Print                            Save As...                     Add Attachment                                                                 Reset
 Official Form 410                                                           Proof of Claim                                                                page 3
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                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
100 Spectrum Center Drive, Suite 600, Irvine, CA 92618


A true and correct copy of the foregoing document entitled: NOTICE OF BAR DATE FOR FILING PROOFS OF CLAIM
IN A CHAPTER 11 CASE [LBR 3003-1] (with Official Proof of Claim Form 410) will be served or was served (a) on
the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 10/16/2024
_______________,    I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:




                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
             10/16/2024
On (date) _______________,      I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 10/16/2024        Lori Gauthier                                                     /s/ Lori Gauthier
 Date                       Printed Name                                                     Signature




         This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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Debtors                                    NEF - Interested Party                NEF on behalf of Producers Livestock
Manning Land Company, LLC, Manning's       United States Trustee                 Marketing Assoc.
Beef, LLC                                  Attn:                                 Gerrick M. Warrington, Esq.
ADD Enterprises, Inc., Charlie DiMaria &   915 Wilshire Blvd Ste 1850            Frandzel Robins Bloom & Csato, L.C.
Son Inc.                                   Los Angeles, CA 90017                 Attn:
RNCK, Inc. and Salvatore Anthony                                                 1000 Wilshire Blvd 19th Fl
DiMaria                                                                          Los Angeles, CA 90017-2427
Attn Salvatore Anthony DiMaria
9531 Beverly Road
Pico Rivera, CA 90660
Attn:

NEF on behalf of Producers Livestock       NEF/RFSN - Collection Attorney for    Schedule F
Marketing Assoc.                           Linkun Investment, Inc.               Agdirect
Michael J. Gomez, Esq.                     Alexander J. Kessler, Esq.            Attn: President
Frandzel Robins Bloom & Csato, L.C.        Grant & Kessler, APC                  PO BOX 2409
Attn:                                      Attn:                                 Omaha, NE 68103
1000 Wilshire Blvd 19th Fl                 1331 India Street
Los Angeles, CA 90017-2427                 San Diego, CA 92101


Request for Notice                         Schedule D                            Schedule D
Farm Credit Services of America, PCA       Colony Capital                        Crown Equipment Corporation
dba AgDirect                               Attn: Jamal Dawood                    Attn: President
Attn: c/o Thomas G. Mouzes, Esq.           8235 Monica Blvd                      44 S Washington St
Bashar Ahmad, Esq.                         Los Angeles, CA 90046                 New Bremen, OH 45869
Boutin Jones Inc.
555 Capitol Mall, Suite 1500
Sacramento, CA 95814

Claim Filed                                Schedule D                            Schedule D
Crown Credit Company                       East West Bank                        Grasshopper Bank
Attn: Sebaly Shillito + Dyer               Attn: Frank Chan                      Attn: Jim Velez
Attn Robert Hanseman                       135 N Los Robles Ave                  915 Broadway Floor 7
220 E Monument Ave Ste 500                 Pasadena, CA 91101                    New York, NY 10010
Dayton, OH 45402

Schedule D                                 Schedule D/Claim Filed                Schedule D
Jimmy Nuckles                              John Deere Financial                  Lineage Logistics-Vernon
Attn: Phillip Wing                         Attn: President                       Attn: President/Manager
7979 Ivanhow Ave Ste 200                   PO BOX 6600                           PO Box 734938
La Jolla, CA 92037                         Johnston, IA 50131                    Dallas, TX 75373


Schedule D                                 Schedule D/Additional Notice          NEF/RFSN - Collection Attorney for
Linkun Investment, Inc.                    Linkun Investment, Inc.               Linkun Investment, Inc.
Attn: Attn President                       Attn: c/o Lewis Brisbois Bisgaard &   Miles Grant, Esq.
105 Balance                                Smith LLP                             Phillip A. Zunshine, Esq.
Irvine, CA 92618                           633 West 5th Street, Suite 4000       Attn: Grant & Kessler, APC
                                           Los Angeles, CA 90071                 1331 India Street
                                                                                 San Diego, CA 92101


Schedule D/Notice Purposes                 Schedule F                            Schedule D/20 Largest Unsecured
North Mill Credit Trust                    O&S Cattle                            Creditor
Attn: Attn President                       Attn: Harold Stewart                  Producers Livestock Marketing
81 Throckmorton Ave Ste 203                14815 Energy Way                      Attn: Rick Obrien
Mill Valley, CA 94941                      Apple Valley, MN 55124                P.O. Box 105
                                                                                 Salina, UT 84654
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Additional Notice                      Schedule E/Notice Purposes             Schedule E/Notice Purposes
Producers Livestock Marketing          California Dept of Tax and Fee Admin   Employment Develop Dept
Association                            Attn: Special Ops, MIC: 55             Attn: Bankruptcy Group MIC 92E
Attn:                                  PO Box 942879                          PO Box 826880
PO Box 540477                          Sacramento, CA 94279-0055              Sacramento, CA 94280
North Salt Lake City, UT 84054

Schedule E/Notice Purposes             Notice Purposes                        Notice Purposes
Franchise Tax Board                    Internal Revenue Service               LA County Tax Collector
Attn: Bankruptcy Section MS A-340      Attn:                                  Attn: Bankruptcy Unit
PO Box 2952                            PO Box 7346                            PO Box 54110
Sacramento, CA 95812                   Philadelphia, PA 19101                 Los Angeles, CA 90051


Notice Purposes                        Notice Purposes                        Schedule F
Los Angeles City Clerk                 Securities & Exchange Commission       A&Q Forklift Service
Attn:                                  Attn:                                  Attn: President/Manager
PO Box 53200                           444 S Flower St Ste 900                14527 Elmcroft Ave
Los Angeles, CA 90053                  Los Angeles, CA 90071                  Norwalk, CA 90650


Schedule F                             20 Largest Unsecured Creditor          Schedule F
A&T Pallets, Inc                       ABF Packing                            ACJJM LLC
Attn: President/Manager                Attn: President/Manager                Attn: President/Manager
1512 Date St                           8758 S Hwy 377                         2012 S Electric Ave
Montebello, CA 90640                   Dublin, TX 76447                       Alhambra, CA 91803


Schedule F                             Schedule F                             Schedule F
Affordable Plastics & Packaging        Alpine Pallet Solutions                Amazon Capital Services
Attn: President/Manager                Attn: President/Manager                Attn: President/Manager
739 E Francis St                       1310 Exposition Blvd                   PO Box 035184
Ontario, CA 91761                      Los Angeles, CA 90018                  Seattle, WA 98124-5184


Request for Notice                     Schedule F                             Schedule F
American Express National Bank         American Logistics Group               American Scale Co. Inc.
Attn: c/o Zwicker & Associates, P.C.   Attn: President/Manager                Attn: President/Manager
80 Minuteman Road                      PO Box 28685                           PO Box 158
PO Box 9043                            New York, NY 10087                     San Dimas, CA 91773
Andover, MA 01810-1041

Schedule F/Claim Filed                 20 Largest Unsecured Creditor          Schedule F
American Standard Adhesives            Ameristaff Inc                         AMZ Packaging Inc.
Attn: President/Manager                Attn: Brandon                          Attn: President/Manager
5061 Brooks St Ste B                   PO Box 742890                          PO Box 58172
Monclair, CA 91763                     Atlanta, GA 30374-2890                 Vernon, CA 90058


20 Largest Unsecured Creditor          Schedule F                             20 Largest Unsecured Creditor
Ardent Law Group                       Associated Environmental Mgmt          Atkinson, Anderson, Loya, Ruud & Romo
Attn: President/Manager                Attn: President/Manager                Attn: President/Manager
4340 Von Karman Ave                    812 Fremont Ave Ste 100                12800 Center Court Dr Ste 300
Newport Beach, CA 92660                South Pasadena, CA 91030               Cerritos, CA 90703


Additional notice for Torrington       Interested Party                       Interested Party
Livestock                              Bank of America                        Bank of America
Auction Insurance Agency               Attn:                                  c/o Registered Agent
Attn: Lance Derrick                    Bank of America Corporate Center       Attn: The Corporation Trust Company
2200 Woodcrest Pl Ste 200              100 N Tyron St                         Corporation Trust Center
Birmingham, AL 35209                   Charlotte, NC 28255                    1209 Orange St
                                                                              Wilmington, DE 19801
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20 Largest Unsecured Creditor      20 Largest Unsecured Creditor       Schedule F
Beyer Livestock Auction            Bradshaw Livestock                  Bunzl Processor Division
Attn: Jeff Beyer                   Attn: Jeff Smith                    Attn: President/Manager
950 County Road G                  HC 74 Box 5114                      12240 Collections Center Drive
Clovis, NM 88101                   Adamsville, UT 84731                Chicago, IL 60693


20 Largest Unsecured Creditor      Schedule F                          Schedule F
Butcher's Pride Meat Group         C & O Mfg. Co., Inc.                C.C.I. a Chemical Corporation
Attn: President/Manager            Attn: President/Manager             Attn: President/Manager
8524 La Sierra Ave                 9640 Beverly Rd                     3540 East 26th St
Whittier, CA 90605                 Pico Rivera, CA 90660               Vernon, CA 90058


Schedule F                         Schedule F                          20 Largest Unsecured Creditor
California Beef Council            California Gate and Entry Systems   Caruso Trucking
Attn: President/Manager            Attn: President/Manager             Attn: President/Manager
PO Box 2278                        1470 Hundley Street                 PO Box 671
Rocklin, CA 95677-2278             Anaheim, CA 92806                   Richfield, UT 84701


20 Largest Unsecured Creditor      Schedule F                          Schedule F
Center Valley Logistics Inc.       Certified Angus Beef LLC            Charles Pedregon
Attn: President/Manager            Attn: President/Manager             Attn: c/o James J. Orland, Esq./Kelsey L.
PO Box 42106                       206 Riffel Road                     Thwaits
Bakersfield, CA 93384              Wooster, OH 44691-8588              2155 Campus Drive, Suite 140
                                                                       El Segundo, CA 90245


20 Largest Unsecured Creditor      Schedule F                          Schedule F
CJ Data Com Inc.                   Compressor Parts & Repair           Consolidated Design West
Attn: President/Manager            Attn: President/Manager             Attn: President/Manager
8504 Firestone Blvd #430           1501 North Peck Road                PO Box 25549
Downey, CA 90241                   So. El Monte, CA 91733              Anaheim, CA 92825


20 Largest Unsecured Creditor      Schedule F                          20 Largest Unsecured Creditor
Cowley Feedlot                     Crown Lift Trucks                   Cryovac, Inc.
Attn: Jeremy Cowley                Attn: President/Manager             Attn: President/Manager
546 North Venice Main Street       PO Box 641173                       26081 Network Place
Venice, UT 84701                   Cincinatti, OH 45264-1173           Chicago, IL 60673-1260


Schedule F/Claim Filed             Proof of Claim Address/Additional   Schedule F
DB Sales & Service                 Notice for DB Sales & Service       DJ Hauling, Inc.
Attn: President/Manager            Mertz Enterprises Inc.              Attn: President/Manager
11582 Markon Drive                 Attn: c/o NCS Credit                63 Valley Drive NE
Garden Grove, CA 92841             729 Miner Road                      Newark, OH 43055
                                   Highland Heights, OH 44143


Schedule F                         Schedule G                          20 Largest Unsecured Creditor
England Logistics                  Envision Capital Group LLC          Erath County Dairy Sales & Livestock
Attn: President/Manager            Attn: Attn Managing Member          Comm
1325 S 4700 W                      29982 Ivy Glenn Drive               Attn: Jim Beyer
Salt Lake City, UT 84104           Laguna Niguel, CA 92677             8892 South US Hwy. 377 Suite G
                                                                       Dublin, TX 76446


20 Largest Unsecured Creditor      20 Largest Unsecured Creditor       Schedule F
Erik Brown                         Euclid Stockyards                   FedEx
Attn: Erick Brown                  Attn: Jeremy Gorham                 Attn: President/Manager
515 Drake Drive                    14185 Euclid Avenue                 PO Box 7221
Shafter, CA 93263                  Ontario, CA 91762                   Pasadena, CA 91109-7321
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Schedule F                               Schedule G                         Schedule F
Fire Safety First                        First Insurance Funding            Flowtrace
Attn: President/Manager                  Attn: Attn President/Manager       Attn: President/Manager
1170 E Fruit St                          450 Skokie Blvd Ste 1000           5875 Rickenbacker Rd
Santa Ana, CA 92701                      Northbrook, IL 60062               Commerce, CA 90040


20 Largest Unsecured Creditor            20 Largest Unsecured Creditor      Schedule F
Foster Feed Yard                         Freeman Mathis & Gary LLP          FSNS
Attn: Manuel Foster                      Attn: Accounts Receivable          Attn: President/Manager
3403 Casey Rd.                           550 S Hope St Ste 200              PO Box 116438
Brawley, CA 92227                        Los Angeles, CA 90071-2627         Carrollton, TX 75011-6438


Schedule F                               Additional Notice for Protection   20 Largest Unsecured Creditor
Fuel Me                                  America                            Genske, Mulder & Company, LLP
Attn: President/Manager                  Gardener, Riechmann & Chow         Attn: Manager
150 Harvester Dr Ste 140                 Attn: Attn Ron Chow, Esq.          3187 Red Hill Ave #110
Burr Ridge, IL 60527                     438 E. Katella Avenue, Suite 202   Costa Mesa, CA 92626
                                         Orange, CA 92867


Schedule F                               Schedule F                         Schedule F
Global Equipment Company                 H. J. B. Inc.                      Hantover
Attn: President/Manager                  Attn: President/Manager            Attn: President/Manager
29833 Network Place                      4920 E Washington Blvd             PO Box 776916
Chicago, IL 60673-1298                   City of Commerce, CA 90040         Chicago, IL 60677-6916


20 Largest Unsecured Creditor            Schedule F                         Schedule F
HJ Stephens & Sons                       Home Depot Credit Services         Industrial Formulators Inc.
Attn: Matt Stephens                      Attn: Dept 32-2535031995           Attn: President/Manager
9544 S Road 90 W                         PO Box 78047                       15631 Graham Street Unit E
Grinnell, KS 67738                       Phoenix, AZ 85062-8047             Huntington Beach, CA 92649


Schedule F                               20 Largest Unsecured Creditor      Schedule F
Inner-Cool Refrigeration Inc.            J2 Cattle Company                  Jack C Lund Trucking LLC
Attn: President/Manager                  Attn: Marvin Roberts               Attn: President/Manager
7901 Somerset Blvd                       112 South Kyrene Road Suite 4      231 N 300 E
Paramount, CA 90723                      Chandler, AZ 85226                 Orem, UT 84057


Schedule F                               Schedule F                         20 Largest Unsecured Creditor
Jarvis                                   JDAWS Livestock, LLC               Jeff Smith
Attn: President/Manager                  Attn: c/o Golden Goodrich          Attn: Jeff Smith
33 Anderson Rd                           Attn David M. Goodrich, Esq.       421 N 3200 E
Middletown, CT 06457-4926                3070 Bristol St Ste 640            Lewisville,, ID 83431
                                         Costa Mesa, CA 92626


Proof of Claim Filed                     Schedule F                         20 Largest Unsecured Creditor
JPMC c/o National Bankruptcy Services,   JTX Group, Inc.                    K & L Butcher Supply
LLC                                      Attn: c/o FTW Law Group            Attn: President/Manager
Attn:                                    Attn Felix T. Woo, Esq.            PO Box 67
PO Box 9013                              601 S Figueroa Street Ste 1950     Corona, CA 92878-0067
Addison, TX 75001                        Los Angeles, CA 90017


Schedule F                               Schedule F                         Schedule F
Kimball Midwest                          King Meat, Inc.                    Liftech Elevator Services Inc.
Attn: President/Manager                  Attn: President/Manager            Attn: President/Manager
Dept L-2780                              4215 Exchange Ave                  2897 Gardena Ave
Columbus, OH 43260-2780                  Los Angeles, CA 90058-2604         Signal Hill, CA 90755
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Schedule F                            20 Largest Unsecured Creditor          20 Largest Unsecured Creditor
Linde Gas & Equipment Inc.            Loren Groeneweg                        Los Angeles County Tax Collector
Attn: President                       Attn: Loren Groeneweg                  Attn: Accounts Receivable
Dept LA 21511                         3325 Chestnut Ave                      PO Box 54027
Pasadena, CA 91185                    Hudson, SD 57034                       Los Angeles, CA 90054-0027


Schedule F                            Schedule G                             Schedule F
Mechanic Refrigeration Co., Inc.      Mercedes Benz Financial Services       Merieux Certification
Attn: President/Manager               Attn: President/Manager                Attn: President/Manager
5616 Corporate Ave                    PO Box 5209                            PO Box 7410296
Cypress, CA 90630                     Carol Stream, IL 60197                 Chicago, IL 60674


Schedule F                            Schedule F                             20 Largest Unsecured Creditor
Mettler-Toledo Safeline               Michelson Laboratories                 Moiola Feedyard LLC
Attn: President/Manager               Attn: President/Manager                Attn: Tom Moiola
22677 Network Place                   6280 Chalet Dr                         1594 Gonder Rd
Chicago, IL 60673-1226                Commerce, CA 90040-3704                Brawley, CA 92227


20 Largest Unsecured Creditor         Proof of Claim Address/Additional      Schedule F
One Stop Employment Services Inc.     Notice for One Stop Employ. Services   Pacific Coast Propane LLC
Attn: Yesenia Navarro                 Inc.                                   Attn: President/Manager
PO Box 13188                          The Right Hire Agency                  PO Box 0427
Milwaukee, WI 53213-0188              Attn:                                  Rialto, CA 92377-0427
                                      8430 Telegraph Rd
                                      Downey, CA 90240


Schedule F                            20 Largest Unsecured Creditor          Schedule F/Claim Filed
Pallet Alliance                       Personnel Resource Group Inc.          Praesidio Consulting
Attn: President/Manager               Attn: President/Manager                Attn: President/Manager
9413 Laurel St                        PO Box 206773                          1201 N 3rd St
Los Angeles, CA 90002                 Dallas, TX 75320-6773                  Johnstown, CO 80534


20 Largest Unsecured Creditor         Schedule F                             20 Largest Unsecured Creditor
Prime Foods                           Prime Pallet Solution                  Protection America Inc.
Attn: President/Manager               Attn: President/Manager                Attn: President/Manager
80 Seaview Blvd                       10745 Grand Ave                        PO Box 33073
Port Washington, NY 11050             Ontario, CA 91762                      Granada Hills, CA 91394


20 Largest Unsecured Creditor/Claim   Schedule F                             Schedule F
Filed                                 Reladyne                               Reliant Dry Ice Pacific, LLC
PSL Forever Co.                       Attn: President/Manager                Attn: President/Manager
Attn: President/Manager               PO Box 511578                          PO Box 670608
213 W Ramona Blvd                     Los Angeles, CA 90051-8133             Dallas, TX 75267-0608
San Gabriel, CA 91776

20 Largest Unsecured Creditor         Schedule F                             Schedule F
RKR Distributors                      Rose's Boiler Works, Inc.              Royal Packaging
Attn: President/Manager               Attn: President/Manager                Attn: President/Manager
12450 Philadelphia St                 7439 La Palma Ave #128                 16761 Burke Lane
Eastvale, CA 91752                    Buena Park, CA 90620                   Huntington Beach, CA 92647


Equity Holder                         20 Largest Unsecured Creditor          Schedule F/Claim Filed
Salvatore Anthony DiMaria             Sam Habib Cattle                       Scottlynn USA Division Inc
Attn:                                 Attn: Sam Habib                        Attn: President/Manager
100 Cabot Rd                          P.O. Box 132                           9597 Gulf Research Lane
Massapequa, NY 11758                  Kingsburg, CA 93631                    Fort Myers, FL 33912
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Interested Party/Attorney for Bank of   Schedule F                       20 Largest Unsecured Creditor
America                                 Soft N Ro Inc.                   Sonsray
Severson & Werson                       Attn: President/Manager          Attn: President/Manager
Attn: Lisamarie McDermott               1164 Atlanta Way                 PO Box 51173
19100 Von Karman Ave Ste 700            Costa Mesa, CA 92626             Los Angeles, CA 90051
Irvine, CA 92612

20 Largest Unsecured Creditor           Schedule F                       Schedule F
South Coast Container Corporation       Sprague Pest Solutions           Stiles Animal Removal, Inc.
Attn: President/Manager                 Attn: President/Manager          Attn: President/Manager
14715 Industry Circle                   PO Box 35129                     2107 S Milliken Ave
La Mirada, CA 90638-5818                Seattle, WA 98124                Ontario, CA 91761


Schedule F                              Schedule F                       Schedule F
Straight Forwarding, Inc.               Stump Power & Electric Corp.     Sunrise Packaging Material
Attn: President/Manager                 Attn: President/Manager          Attn: President/Manager
20275 Business Pkwy                     3432 E 15th St                   440 Quadrangle Dr Ste H
City of Industry, CA 91789              Los Angeles, CA 90023            Bolingbrook, IL 60440


20 Largest Unsecured Creditor           Schedule F                       Additional Notice for Charles Pedregon
TDI Refrigeration                       Terminix Commercial              Thomas F. Mortimer, Jr.
Attn: President/Manager                 Attn: President/Manager          Attn: Mortimer Law Firm
10241 Trademark Street                  PO Box 802155                    1500 Rosecrans Avenue, Suite 500
Rancho Cucamonga, CA 91730              Chicago, IL 60680-0              Manhattan Beach, CA 90266


Schedule F                              20 Largest Unsecured Creditor    20 Largest Unsecured Creditor
Thompson Industrial Supply              Torrington Livestock             TQL
Attn: President/Manager                 Attn: Lance Derrick              Attn: President/Manager
PO Box 1029                             PO Box 1097                      PO Box 634558
Rancho Cucamonga, CA 91729-1299         Torrington, WY 82240             Cincinnati, OH 45263


Schedule F                              20 Largest Unsecured Creditor    Schedule F
Tremco Corp.                            United Expert Holdings LLC       USDA FSIS
Attn: President/Manager                 Attn: Manager                    Attn: President/Manager
3735 Green Road                         23425 Slidell Road               PO Box 979001
Beachwood, OH 44122-5730                Boyds, MD 20841                  St. Louis, MO 63197-9001


Schedule F                              20 Largest Unsecured Creditor    Claim Filed
USDA, AMS, Livestock                    Vestis                           Vestis Services, LLC fka Aramark
Attn: President/Manager                 Attn: President/Manager          Uniform & Career
PO Box 790304                           PO Box 101179                    Attn: c/o Devin G. Bray
St. Louis, MO 63179                     Pasadena, CA 91189               Hawley Troxell Ennis & Hawley, LLP
                                                                         PO Box 1617
                                                                         Boise, ID 83701-1617


Schedule F                              20 Largest Unsecured Creditor
Webtrans Logistics Inc.                 Williams Scotsman, Inc.
Attn: President/Manager                 Attn: President/Manager
2760 East El Presidio St                PO Box 91975
Carson, CA 90810                        Chicago, IL 60693-1975


                                        Webtrans Logistics, Inc.         California Ice Company
                                        Attn: President/Manager          Attn: President/Manager
                                        2760 East El Presidio St         470 3rd Street
                                        Carson, CA 90810                 Lake Elsinore, CA 92530
